           Case 1:03-cr-05066-AWI-BAM Document 30 Filed 11/17/14 Page 1 of 2


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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 1:03-CR-5066 AWI-BAM

12                                 Plaintiff,           ORDER ON STIPULATION TO VACATE
                                                        STATUS CONFERENCE
13                          v.
                                                        Date: November 24, 2014
14   OCTAVIO GALLEGOS-VASQUEZ                           Time: 1:00 p.m.
                                                        Honorable Barbara A. McAuliffe
15                                 Defendants.

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17          The United States of America, by and through BENJAMIN B. WAGNER, United States
18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendant

19 Octavio GALLEGOS-Vasquez, by and through Arturo Hernandez, his attorney of record, having agreed

20 to VACATE the 7th Status Conference set for a hearing on November 24, 2014 at 1:00 PM before Judge

21 McAuliffe in the above-entitled case pending hearing of the defendant’s motion to suppress on

22 December 1, 2014 in a related case,

23          IT IS SO ORDERED. The parties shall request a new status conference date on December 1,
24 2014 during their appearance before the Honorable Anthony W. Ishii.

25          IT IS FURTHER ORDERED THAT as the requested date represents the earliest date that all
26 counsel are available, taking into account their schedules and commitments to other clients, and the need
27 for preparation in the case and further investigation, time shall be excluded to and through the date of

28 the status conference in that failure to grant the requested continuance would unreasonably deny the



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           Case 1:03-cr-05066-AWI-BAM Document 30 Filed 11/17/14 Page 2 of 2


 1 defendants continuity of counsel, and unreasonably deny both the defendants and the government the

 2 reasonable time necessary for effective preparation, taking into account the parties’ due diligence in

 3 prosecuting this case. 18 U.S.C. § 3161(h)(7)(B)(iv). The Court finds, based on the reasons articulated,

 4 that the continuance in the "ends of justice" outweighs the interest of the public and defendant in a

 5 speedy trial under the Speedy Trial Act.

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 7 IT IS SO ORDERED.

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        Dated:    November 17, 2014                          /s/ Barbara A. McAuliffe              _
 9                                                    UNITED STATES MAGISTRATE JUDGE
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